Case
 Case17-21535-GLT
      17-21535-GLT Doc       Doc6359-2  Filed  07/03/19
                                             Filed  06/14/19  Entered   07/03/19
                                                                   Entered       14:15:52
                                                                           06/14/19  15:49:19
                                                                                        FILEDDesc  Main
                                                                                                  Desc
                                       Document          Page
                              Proposed Default Order Page 1 of 1 1 of 1
                                                                                         7/3/19 11:17 am
                                                                                        CLERK
                                                                                        U.S. BANKRUPTCY
                                  UNITED STATES BANKRUPTCY COURT COURT - :'3$
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)
      ____________________________________
      Barbara A. Price                                      :CHAPTER 13
                                 Debtor                     :CASE NO: 17-21535-GLT
      -------------------------------------------------     :              ________________
                                                            :
      MTGLQ Investors, L.P.                                 : 11 U.S.C. § 362(d)
                                                            :
                                                            : Date and Time of Hearing: July 17, 2019
                                                            : at 9:30 a.m.
                                 Movant                     :
              v.                                            :
                                                            :
      Barbara A. Price                                      : Response Due: July 1, 2019
                                 Debtor                     :
               and                                          : Related Dkt. No. 59
                                                            :
      Ronda Winnecour, Esq. (Trustee)                       :
                                                            :
                        Respondents                         :
      ------------------------------------------------------:

         DEFAULT ORDER ON MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                      3rd
               This _________day          July
                                     of ________,   2019, upon default, no response objecting to the
        Motion having been timely filed by an interested party, and upon Movant’s Certification of
        Service and Certification of No Objection, it is:

                 It is ORDERED, that the above-captioned Motion is granted insofar as it requests
        relief from the automatic stay as to 119 Cross St., Buena Vista PA 15019 imposed by 11
        U.S.C. §362

                Movant shall, within (5) days hereof, service a copy of the within Order on parties in
        interest (unless they are otherwise served) and file a Certificate of Service


      Dated: 7/3/19
                                             ________________________________
                                             _____________
                                             __         ________
                                                              _________
                                                                     ____
                                                                        _ ___________
                                             Gregory  yL
                                                       L.. Taddonio
                                             United S States
                                                       tates Bankruptcy Judge

        CC:    Barbara A. Price (debtor)
               Ronda  Winnecour,
               Brian Caine, Esq. Esq. (Trustee)
               United States Trustee
